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                           UNITED STATES BANKRUPTCY COURT

                                       DISTRICT OF MONTANA

 In re

 SCOTT K. WILLIAMS,
                                                          Case No. 9:23-bk-90147-BPH
                          Debtor.


 RICHARD J. SAMSON,

                          Plaintiff,

                     v.                                 Adversary No. 9:23-ap-09001-BPH

 CANDY WILLIAMS and
 VIKING INVESTMENTS LLC,

                          Defendant.


                            DECLARATION OF CANDY WILLIAMS

         I, Candy Williams, declare under penalty of perjury under the laws of the United States

as follows:

   1.    I am a defendant in this adversary proceeding. I am the sole member of Viking

Investments, LLC. I am married to the Debtor in this bankruptcy case, Scott K. Williams. Scott




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and I reside in the Bigfork, Montana area.

    2. I organized Viking Investments, LLC, in July, 2019. At the time Scott and I were

contemplating moving from Utah to Montana, I am from Montana, and at the time I was looking

into going into business operating a coffee shop. Scott was also contemplating acquiring a

service station. Although I did not start a coffee shop and Scott looked at but decided not to buy

a service station, I was considering other options for investments in Montana, including

acquiring real property to sell later or rentals.

    3. In August, 2019, Scott transferred $400,000 into Viking Investments. At the time it was

our intention to use the money for investment purposes. Viking acquired a house in September,

2019, for $358,000 and it was our plan to fix it up and sell it by the end of 2019. There were

substantial problems with the house and ultimately it was necessary to borrow money to fix it up.

In order to borrow the funds the house was transferred into my name in late December, 2019.

    4. At the time of the transfer of funds into Viking, the funds were recognized by me as

being Scott’s money. Some of the funds were paid back to Scott and other funds were used to

pay on debts for which he was liable. That continued with funds that were borrowed against the

house. Attached hereto as exhibit A are tables I prepared in response to Interrogatories served in

this case showing the payment of funds to or for Scott’s benefit and also spent on rehabilitating

the house.

    5. Scott has not been employed since 2019 and at this time his income is from Social

Security. I work for a mortgage company handling its payroll and I am the primary source of

income for our household and consequently pay most of the household expenses. I was able to

move from Utah to Montana and continue working in my job remotely, and we moved into the




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house in May, 2020. Scott and I have resided there since that time.

   6. I am aware of the claims being made by Kent Williams over Scott’s handling of the Hugh

L. Williams Family Trust. There was a forensic accounting done in connection with that dispute

that was not submitted to the Court in connection with this controversy and it is my

understanding that it does not support Kent William’s claims.

       Dated: _________________________



                                                     ________________________________

                                  CERTIFICATE OF SERVICE

        I hereby certify under penalty of perjury that I served the foregoing Brief in Opposition to
Motion for Summary Judgment on November 3, 2023, on the following persons in the manner
indicated:

Trent Gardner
Via ECF


                                                             /s/Edward A. Murphy




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GBV= Glacier Bank- Viking
AF= America First
GB= Glacier Bank- personal account
            Credit Card payments
 10/15/2019 Amex                      $ 6,147.17 GBV
 11/14/2019 Amex                      $   649.01 GBV
  12/2/2019 Amex                      $ 8,781.59 GBV
  1/13/2020 Amex                      $ 2,448.29 AF
  3/13/2020 Amex                      $ 23,276.87 AF
  4/14/2020 Amex                      $ 1,177.82 AF
  6/14/2020 Amex                      $ 6,918.39 GB
  7/14/2020 Amex                      $ 9,966.67 AF
  8/14/2020 Amex                      $ 5,831.91 AF
  9/14/2020 Amex                      $ 8,408.30 AF
 10/14/2020 Amex                      $ 3,014.56 AF
 11/16/2020 Amex                      $ 3,569.04 AF
 11/16/2020 RC Willey                 $   197.00
  1/14/2021 Amex                      $ 2,814.78 AF
  3/15/2021 Amex                      $ 1,000.00 AF
  4/14/2021 Amex                      $ 3,289.53 GB
 12/15/2020 RC Willey                 $   212.00 GB



   1/8/2021 RC Willey                 $    212.00 GB
  2/18/2021 RC Willey                 $    212.00 GB
  3/16/2021 RC Willey                 $    212.00
   4/1/2021 CC                        $     63.45
   4/1/2021 CC                        $     53.80
   4/1/2021 Amex                      $   3,289.53 GB
  4/15/2021 RC Willey                 $    212.00
   5/1/2021 CC                        $     63.45
   5/1/2021 CC                        $     53.80
  5/14/2021 Amex                      $   7,999.95 GB




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          6/14/2021 Amex           $    6,918.39           GB
          7/14/2021 Amex           $    5,335.90           GB
           8/2/2021 CC             $      63.45
          8/13/2021 Verizon        $   335.40
          8/16/2021 Amex           $ 7,892.80              GB
          9/14/2021 Amex           $ 7,208.00              GB
          9/13/2021 Verizon        $   216.64
          10/1/2021 Verizon        $   234.83
          10/1/2021 CC             $    63.45
          10/1/2021 CC             $    53.80
          11/1/2021 CC             $    63.45
          11/1/2021 CC             $    53.80
          12/1/2021 CC             $    63.45
          12/1/2021 CC             $    53.80
                                   $128,632.07


             Payment to Scott
             Scott CC payoffs
    1/2/2020 $       2,448.29     AF
   1/21/2020 $        171.04      AF
    1/3/2020 $         50.00      AF
    1/3/2020 $        184.59      AF
    1/2/2020 $       2,801.28     AF
    1/2/2020 $       2,732.25     AF
    1/2/2020 $       2,351.89     AF
    1/2/2020 $       2,344.48     AF
    1/2/2020 $       1,449.82     AF
    1/2/2020 $       1,350.78     AF
    1/2/2020 $        935.04      AF
    1/2/2020 $        812.42      AF
    1/2/2020 $        476.37      AF
    1/2/2020 $        374.45      AF
             $      18,482.70




Paid off with
loan from
house              12/31/2019 $        9,677.00    AMEX
                              $        4,256.00    Chase
                              $        3,462.00    chase
                              $    17,395.00




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Payments made through Venmo or cash to Scott
          Payments to Scott
           Venmo/Cash
 9/15/2019 $ 2,500.00 Viking Inv
10/11/2019 $ 2,500.00 Viking Inv
 11/8/2019 $ 2,500.00 Viking Inv
11/20/2019 $ 2,500.00 Viking Inv
12/10/2019 $ 2,500.00 Viking Inv
12/18/2019 $ 2,500.00 Viking Inv
 1/14/2020 $   500.00 Venmo
  1/2/2020 $ 3,000.00 AF
  2/1/2020 $ 2,500.00 Venmo
  2/6/2020 $   450.00 Venmo
 2/24/2020 $   500.00 Venmo
  3/1/2020 $ 2,500.00 Venmo
  3/3/2020 $   400.00 Venmo
  4/5/2020 $ 2,200.00 Venmo
 4/23/2020 $   400.00 Venmo



 4/25/2020 $   150.00    Venmo
 5/25/2020 $   400.00    Venmo
  6/1/2020 $   500.00    Cash
 6/25/2020 $   150.00    Cash GB
 7/25/2020 $   400.00    Venmo
 7/31/2020 $   460.00    cash
 8/25/2020 $   400.00    Venmo
 9/27/2020 $   400.00    Venmo
10/12/2020 $   200.00    Venmo
 12/4/2020 $   135.00    Venmo
12/10/2020 $    50.00    Venmo
 1/14/2021 $   140.00    Venmo
 12/7/2020 $   500.00    Cash GB
 1/19/2021 $   102.50    Cash GB
  2/1/2021 $   100.00    Cash GB
 3/26/2021 $   340.00    Cash GB
 4/12/2021 $   600.00    Cash GB
  6/8/2021 $    20.00    Cash GB
 7/12/2021 $   650.00    Cash GB
 5/10/2021 $ 2,050.00    Venmo
           $ 35,197.50




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Money into the house.
            Money into house
$ 3,509.00 Oven
$ 1,900.00 Water system
$ 6,041.00 Master Bathroom
$ 3,500.00 Fridge
$ 1,449.00 Stove top
$   750.00 Hood range
$ 7,000.00 Carpet
$ 4,212.00 Stone
$   989.00 Slate
$ 5,781.00 Laundry room build/Pantry
$ 2,004.82 Gate
$   598.00 ADT system                        $69.00 mo
$ 5,874.96 Air conditioner system
$ 1,047.00 Dishwasher
$ 3,376.00 Lighting
$ 4,300.00 Flooring -sealer and deck stain
$ 1,762.50 Wallpaper
$ 1,192.13 Beverage fridge
$ 5,772.00 Countertop
$   177.00 Weather strip
$   190.00 Doorbell entry light
$   500.00 Fireplace
$   241.00 Glass in fireplace
$ 2,800.00 Paint & Grout
$   875.00 Gravel
$   577.25 Backsplash & cabinet handles
$ 1,207.00 Custom blinds
$ 2,857.22 Master closet
$ 1,250.00 Door locks and accessories
$   350.00 Toilets
$ 1,600.00 Road Maintenace-required
$   700.00 Scaffolding
$ 5,041.00 Electrical/wiring
$ 7,728.00 Doors




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$    398.27 On demand hot water system
$    225.00 Mail Box
$ 4,898.17 plumbing
$92,673.32
          Additional payments



          Apple                 $   2,737.25
    Mar-21 GP pass              $    80.00
                                $ 2,817.25




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